






NO. 07-01-0451-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E


												

JANUARY 30, 2003



______________________________


										


RICHARD WESLEY MITCHELL, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



_________________________________



FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;



NO. 13,318-A; HONORABLE DAVID GLEASON, JUDGE



_______________________________



Before JOHNSON, C.J., REAVIS, J. and BOYD, S.J. (1)

MEMORANDUM OPINION


	Appellant Richard Wesley Mitchell appeals his conviction and sentence of 20 years
confinement for aggravated assault.  We affirm.


BACKGROUND

	Appellant Richard Wesley Mitchell was indicted for aggravated assault.  He was
found guilty by a Randall County jury.  Pursuant to the jury's verdict on punishment, the
trial court sentenced appellant to 20 years confinement and a $5,000 fine. 

	A motion for new trial was filed and set for hearing.  Appellant's counsel was
present when the motion was called for hearing, but appellant was not.  Because appellant
was not present, the trial court stayed the hearing until such time as appellant's counsel
could secure appellant's presence or the motion became overruled by operation of law. 
See Tex. Crim. Proc. Code Ann. art. 33.03 (Vernon 1989).  The trial court allowed
appellant's counsel to make a bill of exceptions as to the evidence counsel would have
presented if the hearing had proceeded.    

	The motion for new trial was not reset for hearing and was overruled by operation
of law.  Appellant urges by one issue that he was deprived of procedural and substantive
due process of law to which he was entitled under the Fifth Amendment to the United
States Constitution and under Article 1, Section 19 of the Texas Constitution by his
attorney's failure to secure appellant's presence at the hearing on his motion for new trial. 

ANALYSIS

	  Appellant's authority in support of his argument that he was deprived of procedural
and substantive due process under the federal and state constitutions consists of citations
to the constitutions and Tex. Crim. Proc. Code Ann. art. 33.03 (Vernon 1989).  Appellant
does not distinguish between his state and federal constitutional arguments or between
his procedural and substantive due process arguments.

	Appellants assuredly may make arguments for which there is no authority directly
on point.  However, in making such arguments, appellants must ground their contentions
in analogous case law or provide relevant jurisprudential framework for evaluating the 
claim.  See Tong v. State, 25 S.W.3d 707, 710 (Tex.Crim.App. 2000).  Appellant fails to
provide any relevant authority suggesting how his attorney's actions violated appellant's
constitutional rights.  We find the issue to be inadequately briefed.  See Tex. R. App. P.
38.1(h); Tong, 25 S.W.3d at 710.  See also, Rocha v. State, 16 S.W.3d 1, 20
(Tex.Crim.App. 2000) (argument that fails to cite supporting authority presents nothing for
review). 

	Moreover, although an appellant does not have the burden to prove harm from
alleged errors, an appellant is required to suggest, in light of the record, how the  alleged
errors prejudiced appellant.  See Ovalle v. State, 13 S.W.3d 774, 787 (Tex.Crim.App.
2000).   Appellant does not do so.  To the contrary, appellant suggests that matters
presented via his motion for new trial "bill of exceptions" were insufficient to prove the
asserted jury misconduct, outside influence on the jury or preservation of error by timely
objection.  

	The State agrees with appellant that the "evidence" proposed by appellant's counsel
in the bill of exceptions was not competent evidence of jury misconduct or of outside
influence on the jury.  The State further urges that any alleged error was harmless, and
references numerous authorities, including Hines v. State, 3 S.W.3d 618, 623 (Tex.App.--Texarkana 1999, pet. ref'd). 

	We agree.  The evidence and matters referenced in appellant's bill of exceptions
do not demonstrate that he was harmed by his absence from the motion for new trial
hearing.  See Tex. R. App. P. 44.2.  		CONCLUSION

	Briefing inadequacies waived appellant's issue.  The error asserted by appellant,
even if of constitutional magnitude, was harmless.  See Tex. R. App. P. 44.2.  Appellant's
sole issue is overruled.  The judgment of the trial court is affirmed.


							Phil Johnson

							Chief Justice



Do not publish.  


	








		
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.


